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lN THE UN|TED STATES DlSTR|CT COURT
FOR THE WESTERN DlSTRlCT OF TENNESSEE
WESTERN DlVlSiON

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UATE'¢ AM/\.
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time y
cr. No. 04~20424- Ml N\T`N,s ./

UN|TED STATES OF AN|ER|CA,
F’|aintiff,
Vs.

DERR|CK N. THOl\/|AS,

\_/‘~._/'-__/-._/‘~._/-__/'~__/-._/\-_./

Defendant,
ORDER GRANT|NG GOVERNMENT’S ORAL MOT|ON
TO D|SMISS COUNTS 2 THROUGH 5
This cause came to be heard before the court at the sentencing hearing held this
date upon the oral motion of counsel for the United States to dismiss counts 2 through 5
of the indictment in this case as to defendant Derrick N. Thomas, and it appears to the
Court that the plea agreement in this case having been accepted and sentence imposed

on count 1 ofthe indictment, the governments motion is Well taken and should be granted

so oRoEREDthiS X"z day of Qn'*€' ,2005.

 
   

 

JO PH|PPS lVlCCALl_A
lted States District Judge

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 68 in
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Honorable J on McCalla
US DISTRICT COURT

